Case 2121-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page1lof16 Page ID #:225

Thomas C. Hurrell, State Bar No. 119876
E-Mail: thurrell@hurrellcantrall.com
Maria Tuason, State Bar No. 256397
E-Mail: mtuason@hurrellcantrall.com
Christina Gasparian, State Bar No. 322621
E-Mail: cgas arian @hurrellcantrall.com
HURRELL CANTRALL LLP

300 South Grand Avenue, Suite 1300
Los Angeles, California 90071
Telephone: (213) 426-2000

Facsimile: (213) 426-2020

Attorneys for Defendant CITY OF LOS
ANGELES

SoS eN BH an Ft & NY =

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

— em
—= ©

HURRELL CANTRALL LLP

300 SOUTH GRAND AVENUE, SUITE 1300

LOS ANGELES, CALIFORNIA 90071

TELEPHONE (213) 426-2000

pt mk pm amk
aA &- WH

ye NY WY WN
on NH MM

KINCY FIELDS, an individual, and
JONETTA YOUNG, an individual,

Plaintiffs,

CASE NO. 2:21-CV-07313-DSF
(MR Wx)

Assigned Hon. Dale S. Fischer,

Courtroom "7D"
Vv.

Magistrate Judge Michael R. Wilner
CITY OF LOS ANGELES, and DOES

 

 

 

16 || 1 through 10, inclusive, DISCOVERY MATTER

17 Defendant. eR eeR 5 OIEULATED

18

19 Trial Date: None

20

21 || 1. INTRODUCTION

22 1.1 PURPOSES AND LIMITATIONS

23 As the parties have represented that discovery in this action is likely to
24\|involve production of confidential or private information for which special

protection from public disclosure and from use for any purpose other than
prosecuting this litigation may be warranted, this Court enters the following
Protective Order. This Order does not confer blanket protections on all disclosures

or responses to discovery. The protection it affords from public disclosure and use

 

 

 
Case 2:

300 SOUTH GRAND AVENUE, SUITE 1300
LOS ANGELES, CALIFORNIA 90071
TELEPHONE (213) 426-2000

HURRELL CANTRALL LLP

Co Oe N Hn OA BB eB NH =

NY NY NK NK KN NO - FF Ff FF FF FF OF S| =

 

P1-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 2of16 Page ID #:226

extends only to the limited information or items that are entitled to confidential
treatment under the applicable legal principles. Further, as set forth in Section 12.3,
below, this Stipulated Protective Order does not entitle the parties to file
confidential information under seal. Rather, when the parties seek permission from
the court to file material under seal, the parties must comply with Civil Local Rule
79-5.

If any material disclosed or obtained in the course of the instant litigation is
intended to be used for any purpose other than prosecuting this litigation, the party
seeking public disclosure or dissemination of such materials must first seek approval
from the Court.

1.22 GOOD CAUSE STATEMENT

This action is likely to involve confidential information pertaining to
personnel records and other materials subject to privacy protections for which
special protection from public disclosure and from use for any purpose other than
prosecution of this action is warranted. Limiting disclosure of these documents to
the context of this litigation as provided herein will, accordingly, further important
law enforcement objections and interests, including the safety of personnel and the
public, as well as individual privacy rights of plaintiffs, the individual defendants,
and third parties. Such confidential materials and information consist of, among
other things, materials entitled to privileges and/or protections under the following:
United States Constitution, First Amendment; the California Constitution, Article I,
Section 1; California Penal Code §§ 832.5, 832.7 and 832.8; California Evidence
Code §§ 1040 and 1043 et. seq; the Privacy Act of 1974, 5 U.S.C. § 552; Health
Insurance Portability and Accountability Act of 1996 (HIPPA); the right to privacy;
decisional law relating to such provisions; and information otherwise generally
unavailable to the public, or which may be privileged or otherwise protected from
disclosure under state or federal statutes, court rules, case decisions, or common

law. Defendant also contends that such confidential materials and information

-2-

 

 
HURRELL CANTRALL LLP

Case 2!

300 SOUTH GRAND AVENUE, SUITE 1300
LOS ANGELES, CALIFORNIA 90071
TELEPHONE (213) 426-2000

So OoGanN A a ff & NY =

Y NYO NY NY NK FF FF FF FE FF FO SFO Sl Sl
BPNHRRRP RKHRPESi eC axerianwaneanveezas

P1-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 3o0f16 Page ID #:227

consist of materials entitled to the Official Information Privilege.

Confidential information with respect to the Defendant and/or its employees
may include but is not limited to: personnel files; internal investigative files and
documents; email and written correspondence records; and policies and procedures
that are kept from the public in the ordinary course of business, as well as other
information that is not generally available to the public and is subject to the Official
Information Privilege and other privileges. Confidential information with financial
records; email and written correspondence records; video footage and/or
photographs of the incident; and psychological and medical notes, evaluations,
reports, and treatment plans.

Testimony taken at a deposition may be designated as Confidential by making
a statement to that effect on the record at the deposition. Arrangements shall be
made with the court reporter transcribing the deposition to separately bind such
portions of the transcript containing information designated as Confidential, and to
label such portions appropriately. Confidential photographs, video or audio footage
obtained through the course of discovery or otherwise may not be used for any
purpose other than litigating this lawsuit. The parties agree to refrain from directly
or indirectly disclosing or publicly disseminating confidential deposition testimony,
and/or photographs, video or audio footage obtained through the course of discovery
or otherwise, specifically including, but not limited to, dissemination via billboard
advertisements, print and online media organizations, or any other internet posting
or social media. If any party intends to use such confidential materials for any
purpose other than litigating this lawsuit, the party seeking public disclosure must
first seek approval from the Court.

In light of the nature of the claims and allegations in this case and the parties’
representations that discovery in this case will involve the production of confidential
records, and in order to expedite the flow of information, to facilitate the prompt

resolution of disputes over confidentiality of discovery materials, to adequately

 

 

-3-

 
Case 2

LOS ANGELES, CALIFORNIA 90071
TELEPHONE (213) 426-2000

300 SOUTH GRAND AVENUE, SUITE 1300

HURRELL CANTRALL LLP

CoC Oe ADA uA fk BH NY =

Yoyo NY NK NY WN NV F&F F*- F FF FPF FEF OF OO FllULETE hl =

P1-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 4of16 Page ID #:228

protect information the parties are entitled to keep confidential, to ensure that the
parties are permitted reasonable necessary uses of such material in connection with
this action, to address their handling of such material at the end of the litigation, and
to serve the ends of justice, a protective order for such information is justified in this
matter. The parties shall not designate any information/documents as confidential
without a good faith belief that such information/documents have been maintained
in a confidential, non-public manner, and that there is good cause or a compelling
reason why it should not be part of the public record of this case.

2. DEFINITIONS

2.1 Action: The instant action: Kincy Fields, an individual and
Jonetta Young, an individual v. City of Los Angeles, and Does 1 through 10, Case
No, 2:21-CV-07313-DSF (MRWx)

2.2 Challenging Party: A Party or Non-Party that challenges the
designation of information or items under this Order.

2.3. "CONFIDENTIAL" Information or Items: information (regardless of
how it is generated, stored or maintained) or tangible things that qualify for
protection under Federal Rule of Civil Procedure 26(c), and as specified above in
the Good Cause Statement.

2.4 Counsel: Outside Counsel of Record and House Counsel (as well as
their support staff).

2.5 Designating Party: a Party or Non-Party that designates information or
items that it produces in disclosures or in responses to discovery as
"CONFIDENTIAL."

2.6 Disclosure or Discovery Material: all items or information, regardless
of the medium or manner in which it is generated, stored, or maintained (including,
among other things, testimony, transcripts, and tangible things),

2.7 Expert: a person with specialized knowledge or experience in a manner

pertinent to the litigation who has been retained by a Party or its counsel to serve as

_4-

 

 

 
HURRELL CANTRALL LLP

Case 2

LOS ANGELES, CALIFORNIA 90071
TELEPHONE (213) 426-2000

300 SOUTH GRAND AVENUE, SUITE 1300

Co ON HD Oa Ft DH YY =

ry reo NK WKY NK KY = FF FSF FF FO OPO Sel eS Sl
yr>eeRRP On BE SiCT_ae nr. AaAaasnRkeNHeS

P1-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 5of16 Page ID #:229

an expert witness or as a consultant in this Action.

2.8 House Counsel: attorneys who are employees of a party to this Action.
House Counsel does not include Outside Counsel of Record or any other outside
counsel.

2.9 Non-Party: any natural person, partnership, corporation, association, or
other legal entity not named as a Party to this action.

2.10 Qutside Counsel of Record: attorneys who are not employees of a
party to this Action but are retained to represent or advise a party this Action and
have appeared in this Action on behalf of that party or are affiliated with a law firm
which has appeared on behalf of that party, and include support staff.

2.11 Party: any party to this Action, including all of its officers, directors,
employees, consultants, retained experts, and Outside Counsel of Record (and their
support staffs).

2.12 Producing Party: a Party or Non-Party that produces Disclosure or
Discovery Material in this Action.

2.13. Professional Vendors: persons or entities that provide litigation
support services (e.g., photocopying, videotaping, translating, preparing exhibits or
demonstrations, and organizing, storing, or retrieving data in any form or medium)
and their employees and subcontractors.

2.14 Protective Material: any Disclosure or Discovery Material that is
designated as "CONFIDENTIAL."

2.15 Receiving Party: a Party that receives Disclosure or Discovery
Material from a Producing Party.

3. SCOPE

The protections conferred by this Order cover not only Protected Material (as
defined above), but also (1) any information copied or extracted from Protected
Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;

and (3) any deposition testimony, conversations, or presentations by Parties or their

 

 

5-

 

 
HURRELL CANTRALL LLP

Case 2

LOS ANGELES, CALIFORNIA 90071
TELEPHONE (213) 426-2000

300 SOUTH GRAND AVENUE, SUITE 1300

SoS enAN Han fk He NY =

ry NY NK NY NK NY = §*- | F- FF FF FEF OS S| =

P1-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 6o0f16 Page ID #:230

Counsel that reveal Protected Material, other than during a court hearing or at a trial.
Any use of Protected Material during a court hearing or at trial shall be

governed by the orders of the presiding judge. This Order does not govern the use

of Protected Material during a court hearing or at trial.

4. DURATION

Even after final disposition of this litigation, the confidentiality obligations
imposed by this Order shall remain in effect until a Designating Party agrees
otherwise in writing or a court order otherwise directs. Final disposition shall be
deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
or without prejudice; and (2) final judgment herein after the completion and
exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
including the time limits for filing any motions or applications for extension of time
pursuant to applicable law.

5. DESIGNATING PROTECTED MATERIAL

5.1 Exercise of Restraint and Care in Designating Material for Protection:

Each Party or Non-Party that designates information or items for protection
under this Order must take care to limit any such designation to specific material
that qualifies under the appropriate standards. The Designating Party must designate
for protection only those parts of material, documents, items, or oral or written
communications that qualify so that other portions of the material, documents,
items, or communications for which protection is not warranted are not swept
unjustifiably within the ambit of this Order.

Mass, indiscriminate, or routinized designations are prohibited. Designations
that are shown to be clearly unjustified or that have been made for an improper
purpose (e.g., to unnecessarily encumber the case development process or to impose
unnecessary expenses and burdens on other parties) may expose the Designating

Party to sanctions.

If it comes to a Designating Party’s attention that information or items that it

 

 

-6-

 
HURRELL CANTRALL LLP

300 SOUTH GRAND AVENUE, SUITE 1300

Case 2121-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 7of16 Page ID #:231

designated for protection do not qualify for protection, that Designating Party must
promptly notify all other Parties that it is withdrawing the inapplicable designation.

5.2 Manner and Timing of Designations: Except as otherwise provided in
this Order (see, e.g., second paragraph of Section 6.2(a) below), or as otherwise
stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
under this Order must be clearly so designated before the material is disclosed or
produced.

Designation in conformity with this Order requires:

eo GN Dn on tk HH VY =

(a) for information in documentary form (e.g., paper or electronic documents,

—
Oo

but excluding transcripts of depositions), that the Producing Party affix at a
minimum, the legend “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”),

pk fmm
No

to each page that contains protected material. If only a portion or portions of the

pa
Ge

material on a page qualifies for protection, the Producing Party also must clearly

—
aS

identify the protected portion(s) (e.g., by making appropriate markings in the

=
an

margins).

—
aN

TELEPHONE (213) 426-2000

A Party or Non-Party that makes original documents available for inspection

LOS ANGELES, CALIFORNIA 90071

pom
~l

need not designate them for protection until after the inspecting Party has indicated

pom
CO

which documents it would like copied and produced. During the inspection and

—
XO

before the designation, all of the material made available for inspection shall be

deemed “CONFIDENTIAL.” After the inspecting Party has identified the

nN N
—_— &

documents it wants copied and produced, the Producing Party must determine which

nN
N

documents, or portions thereof, qualify for protection under this Order. Then, before

N
Geo

producing the specified documents, the Producing Party must affix the

bo
=

“CONFIDENTIAL legend” to each page that contains Protected Material. If only a

Ne
an

portion or portions of the material on a page qualifies for protection, the Producing

he
aN

Party also must clearly identify the protected portion(s) (e.g., by making appropriate

N
~~

markings in the margins).

N
w

(b) for testimony given in depositions that the Designating Party identifies on

 

 

_7-

 
HURRELL CANTRALL LLP

300 SOUTH GRAND AVENUE, SUITE 1300

Case 2/21-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 8o0f16 Page ID #:232

the record, before the close of the deposition as protected testimony. Confidential
photographs, video or audio footage taken at a deposition may not be used for any
purpose other than litigating this lawsuit. The parties agree to refrain from directly
or indirectly disclosing or publicly disseminating confidential deposition testimony,
and/or photographs, video or audio footage obtained through the course of discovery
or otherwise, specifically including, but not limited to, print and online media
organizations, or any other internet posting or social media. If any party intends to

use such materials for any purpose other than litigating this lawsuit, the party

SoS OHOrANH BD a F&F & YY =

seeking public disclosure must first seek approval from the Court.

i
Qo

(c) for information produced in some form other than documentary and for

—_
—_

any other tangible items, that the Producing Party affix in a prominent place on the

mh
nN

exterior of the container or containers in which the information is stored the legend

—_
Ge

“CONFIDENTIAL.” If only a portion or portions of the information warrants

bd
_

protection, the Producing Party, to the extent practicable, shall identify the protected
portion(s).
(d) The legend “CONFIDENTIAL” shall be affixed to documents and

_
N

LOS ANGELES, CALIFORNIA 90071
TELEPHONE (213) 426-2000
—_
aa

po
|

other tangible items in a manner that does not obscure the information contained

thereon.

emt pd
Oo @

5.3. Inadvertent Failures to Designate: If timely corrected, an inadvertent

N
Oo

failure to designate qualified information or items does not, standing alone, waive

N
—

the Designating Party’s right to secure protection under this Order for such material.

N
nN

Upon timely correction of a designation, the Receiving Party must make reasonable

N
Ge

efforts to assure that the material is treated in accordance with the provisions of this

Order.
6. CHALLENGING CONFIDENTIALITY DESIGNATIONS:

ny NY W
Nn nn &

6.1 Timing of Challenges: Any Party or Non-Party may challenge a

N
~l

designation of confidentiality at any time that is consistent with the Court’s

Scheduling Order.

N
>)

 

 

 

 
HURRELL CANTRALL LLP

Case 2

LOS ANGELES, CALIFORNIA 90071
TELEPHONE (213) 426-2000

300 SOUTH GRAND AVENUE, SUITE 1300

Co eae nN Hn kt & NY =

ry KY NY NK KY KN *= F-— = FE FOF SOS SO
BP e RRR ON FSSC R DWT Ane BHR SS

P1-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 9of16 Page ID #:233

6.2 Meet and Confer: The Challenging Party shall initiate the dispute
resolution process under Local Rule 37-1 et seq.

6.3 The burden of persuasion in any such challenge proceeding shall be on
the Designating Party. Frivolous challenges, and those made for an improper
purpose (e.g., to harass or impose unnecessary expenses and burdens on other
parties) may expose the Challenging Party to sanctions. Unless the Designating
Party has waived or withdrawn the confidentiality designation, all parties shall
continue to afford the material in question the level of protection to which it is
entitled under the Producing Party’s designation until the Court rules on the
challenge.

7. ACCESS TO AND USE OF PROTECTED MATERIAL

7.1 Basic Principles: A Receiving Party may use Protected Material that is
disclosed or produced by another Party or by a Non-Party in connection with this
Action only for prosecuting, defending, or attempting to settle this Action. Such
Protected Material may be disclosed only to the categories of persons and under the
conditions described in this Order. When the Action has been terminated, a
Receiving Party must comply with the provisions of Section 14 below.

Protected Material must be stored and maintained by a Receiving Party at a
location and in a secure manner that ensures that access is limited to the persons
authorized under this Order.

7.2 Disclosure of "CONFIDENTIAL" Information or Items: Unless
otherwise ordered by the court or permitted in writing by the Designating Party, a
Receiving Party may disclose any information or item designated
“CONFIDENTIAL” only to:

(a) the Receiving Party’s Outside Counsel of Record in this Action, as well
as employees of said Outside Counsel of Record to whom it is reasonably necessary
to disclose the information for this Action;

(b) the officers, directors, and employees (including House Counsel) of the

-9-

 

 

 
300 SOUTH GRAND AVENUE, SUITE 1300

HURRELL CANTRALL LLP

Case 2:

ts

H1-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 100f16 Page ID #:234

1 || Receiving Party to whom disclosure is reasonably necessary for this Action;
2 (c) Experts (as defined in this Order) of the Receiving Party to whom
3 ||disclosure is reasonably necessary for this Action and who have signed the
4 || “Acknowledgment and Agreement to Be Bound” (Exhibit A);
5 (d) the court and its personnel;
6 (e) court reporters and their staff;
7 (f) professional jury or trial consultants, mock jurors, and Professional
8 || Vendors to whom disclosure is reasonably necessary for this Action and who have
9 || signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
10 (g) the author or recipient of a document containing the information or a
11 || custodian or other person who otherwise possessed or knew the information;
12 (h) during their depositions, witnesses, and attorneys for witnesses, in the

a
Ge

Action to whom disclosure is reasonably necessary provided: (1) the deposing party

—
_

requests that the witness sign the “Acknowledgment and Agreement to Be Bound”

form attached as Exhibit A hereto; and (2) they will not be permitted to keep any

on
nN

TELEPHONE (213) 426-2000
—_
Nn

confidential information unless they sign the “Acknowledgment and Agreement to

LOS ANGELES, CALIFORNIA 90071

—
—l

Be Bound” attached as Exhibit A, unless otherwise agreed by the Designating Party

pm
io)

or ordered by the court. Pages of transcribed deposition testimony or exhibits to

—
\O

depositions that reveal Protected Material may be separately bound by the court

nN
So

reporter and may not be disclosed to anyone except as permitted under this

nN
—

Protective Order; and

nN
nN

(i) any mediator or settlement officer, and their supporting personnel,

nw
Ge

mutually agreed upon by any of the parties engaged in settlement discussions.
8. PROTECTED MATERIAL SUBPOENAED OR ORDERED
PRODUCED IN OTHER LITIGATION

ry NY NY
Nn nn &

If a Party is served with a subpoena or a court order issued in other litigation

nN
~]

that compels disclosure of any information or items designated in this Action as

“CONFIDENTIAL,” that Party must:

N
CO

 

 

-10-

 
Case 2:4

LOS ANGELES, CALIFORNIA 90071
TELEPHONE (213) 426-2000

HURRELL CANTRALL LLP
300 SOUTH GRAND AVENUE, SUITE 1300

oOo SB nN DH nH bh BH NO =

NY NY NK NY NO F&F FF fF Ff FEF FEF OO FOO Sell
Pn RRR BRRS CREAR ARORA S

M1-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 110f16 Page ID #:235

(a) promptly notify in writing the Designating Party. Such notification shall
include a copy of the subpoena or court order unless prohibited by law;

(b) promptly notify in writing the party who caused the subpoena or order to
issue in the other litigation that some or all of the material covered by the subpoena
or order is subject to this Protective Order. Such notification shall include a copy of
this Protective Order; and

(c) cooperate with respect to all reasonable procedures sought to be pursued
by the Designating Party whose Protected Material may be affected.

If the Designating Party timely seeks a protective order, the Party served with
the subpoena or court order shall not produce any information designated in this
action as “CONFIDENTIAL” before a determination by the court from which the
subpoena or order issued, unless the Party has obtained the Designating Party’s
permission, or unless otherwise required by the law or court order. The Designating
Party shall bear the burden and expense of seeking protection in that court of its
confidential material and nothing in these provisions should be construed as
authorizing or encouraging a Receiving Party in this Action to disobey a lawful
directive from another court.

9. A NON-PARTY'S PROTECTED MATERIAL SOUGHT TO BE
PRODUCED IN THIS LITIGATION

(a) The terms of this Order are applicable to information produced by a Non-
Party in this Action and designated as “CONFIDENTIAL.” Such information
produced by Non-Parties in connection with this litigation is protected by the
remedies and relief provided by this Order. Nothing in these provisions should be
construed as prohibiting a Non-Party from seeking additional protections.

(b) In the event that a Party is required, by a valid discovery request, to
produce a Non-Party’s confidential information in its possession, and the Party is
subject to an agreement with the Non-Party not to produce the Non-Party’s

confidential information, then the Party shall:

-11-

 

 

 
HURRELL CANTRALL LLP

300 SOUTH GRAND AVENUE, SUITE 1300

Case 2:7

LOS ANGELES, CALIFORNIA 90071
TELEPHONE (213) 426-2000

So BAN HB a kk eH VY =

YY NY NK NK WN F&F FF F FF FPF FEF FOU Sh hl

y

 

 

1-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 12 0f16 Page ID #:236

(1) promptly notify in writing the Requesting Party and the Non-Party that
some or all of the information requested is subject to a confidentiality agreement
with a Non-Party;

(2) promptly provide the Non-Party with a copy of the Protective Order in
this Action, the relevant discovery request(s), and a reasonably specific description
of the information requested; and

(3) make the information requested available for inspection by the Non-
Party, if requested.

(c) Ifa Non-Party represented by counsel fails to commence the process
called for by Local Rules 45-1 and 37-1, et seq. within 14 days of receiving the
notice and accompanying information or fails contemporaneously to notify the
Receiving Party that it has done so, the Receiving Party may produce the Non-
Party’s confidential information responsive to the discovery request. If an
unrepresented Non-Party fails to seek a protective order from this court within 14
days of receiving the notice and accompanying information, the Receiving Party
may produce the Non-Party’s confidential information responsive to the discovery
request. If the Non-Party timely seeks a protective order, the Receiving Party shall
not produce any information in its possession or control that is subject to the
confidentiality agreement with the Non-Party before a determination by the court
unless otherwise required by the law or court order. Absent a court order to the
contrary, the Non-Party shall bear the burden and expense of seeking protection in
this court of its Protected Material.

10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
Protected Material to any person or in any circumstance not authorized under this
Protective Order, the Receiving Party must immediately (a) notify in writing the
Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve

all unauthorized copies of the Protected Material, (c) inform the person or persons to

-12-

 
Case 2:

LOS ANGELES, CALIFORNIA 90071
TELEPHONE (213) 426-2000

HURRELL CANTRALL LLP
300 SOUTH GRAND AVENUE, SUITE 1300

oO AANA nN hk WD NO =

Ny NYO NY NY NV NO F&F F F F FSF FP OU Fl FU EES hlUl=

ry

Tt

 

 

1-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 13 0f16 Page ID #:237

whom unauthorized disclosures were made of all the terms of this Order, and (d)
request such person or persons to execute the “Acknowledgment and Agreement to
Be Bound” that is attached hereto as Exhibit A.

11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
PROTECTED MATERIAL

When a Producing Party gives notice to Receiving Parties that certain
inadvertently produced material is subject to a claim of privilege or other protection,
the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
may be established in an e-discovery order that provides for production without
prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar
as the parties reach an agreement on the effect of disclosure of a communication or
information covered by the attorney-client privilege or work product protection, the
parties may incorporate their agreement into this Protective Order.

12. MISCELLANEOUS

12.1 Right to Further Relief. Nothing in this Order abridges the right of any
person to seek its modification by the Court in the future.

12.2 Right to Assert Other Objections. No Party waives any right it
otherwise would have to object to disclosing or producing any information or item
on any ground not addressed in this Protective Order. Similarly, no Party waives
any right to object on any ground to use in evidence of any of the material covered
by this Protective Order.

12.3. Filing Protected Material. A Party that seeks to file under seal any
Protected Material must comply with Civil Local Rule 79-5 and with any pertinent
orders of the assigned District Judge and Magistrate Judge. If a Party's request to
file Protected Material under seal is denied by the court, then the Receiving Party

may file the information in the public record unless otherwise instructed by the

court.

-|3-

 
300 SOUTH GRAND AVENUE, SUITE 1300

HURRELL CANTRALL LLP

Case 2:#1-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 14 0f16 Page ID #:238

13. FINAL DISPOSITION

After the final disposition of this Action, as defined in Section 5, within 60
days of a written request by the Designating Party, each Receiving Party must return
all Protected Material to the Producing Party or destroy such material. As used in
this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
summaries, and any other format reproducing or capturing any of the Protected
Material. Whether the Protected Material is returned or destroyed, the Receiving

Party must submit a written certification to the Producing Party (and, if not the same

SoS OBN Hn a SF B&B YP &

person or entity, to the Designating Party) by the 60 day deadline that (1) identifies

i
Q

(by category, where appropriate) all the Protected Material that was returned or

—_
—_

destroyed and (2) affirms that the Receiving Party has not retained any copies,

a
N

abstracts, compilations, summaries or any other format reproducing or capturing any

—
Oe

of the Protected Material. Notwithstanding this provision, Counsel are entitled to

a
=

retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing

transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert

—_
Nn

TELEPHONE (213) 426-2000
—_
wa

reports, attorney work product, and consultant and expert work product, even if such

LOS ANGELES, CALIFORNIA 90071

—_
|

materials contain Protected Material. Any such archival copies that contain or

i
Oe

constitute Protected Material remain subject to this Protective Order as set forth in

—
\o

Section 5.

14. VIOLATION

NY WN
—= &

Any violation of this Order may be punished by any and all appropriate

nN
nN

measures including, without limitation, contempt proceedings and/or monetary

i
Ge

sanctions.
///
///
///
///
///

ny NY NY WY WL
eon Hn a &

 

 

-14-

 
Case 2:2

LOS ANGELES, CALIFORNIA 90071
TELEPHONE (213) 426-2000

HURRELL CANTRALL LLP
300 SOUTH GRAND AVENUE, SUITE 1300

oO wmrANI An tk Ww NR =

Ny NYO NY NK KY KY — FFE EEE EEO OO —
> PRR eE OK SSC HAAN BR WKH eK SCS

 

 

1-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 15o0f16 Page ID #:239

IT IS SOSTIPULATED, THROUGH COUNSEL OF RECORD.

/s/ Christian Contreras DATED: October 26, 2021
Austin Dove, Esq.

Christian Contreras, Esq.
Law Offices of Austin R. Dove
Attorney for Plaintiffs Kincy Fields and Jonetta Young

74 —

Thomas C. Hurrell, Esq.

Maria Tuason, Esq.

Christina Gasparian, Esq.

HURRELL CANTRALL LLP

Attorneys for Defendant City of Los Angeles

 

DATED: October Z4, 2021

 

 

FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

DATED: 10/28/2021

(a L—

Magistrate Judge Michael R. Wilner
United States Magistrate Judge

-15-

 
Case 2:

LOS ANGELES, CALIFORNIA 90071
TELEPHONE (213) 426-2000

300 SOUTH GRAND AVENUE, SUITE 1300

HURRELL CANTRALL LLP

Co ent HR mA Fk He VY =

rey NY N NK NO K F FS FF FF FEF FSF FPF SF ES hl
PNHRRR BOR FP SsSiCaerAAaARwDNReE SS

4

 

21-cv-07313-DSF-MRW Document 25 Filed 10/28/21 Page 160f16 Page ID #:240

EXHIBIT A
ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

I, [full name], of
[full address], declare under penalty of perjury that I have read in its entirety and
understand the Stipulated Protective Order that was issued by the United States
District Court for the Central District of California on [date] in the case of

[insert case name and number]. | agree to comply with and to be

bound by all the terms of this Stipulated Protective Order and I understand and
acknowledge that failure to so comply could expose me to sanctions and punishment
in the nature of contempt. I solemnly promise that I will not disclose in any manner
any information or item that is subject to this Stipulated Protective Order to any
person or entity except in strict compliance with the provisions of this Order.

I further agree to submit to the jurisdiction of the United States District Court
for the Central District of California for the purpose of enforcing the terms of this
Stipulated Protective Order, even if such enforcement proceedings occur after

termination of this action. I hereby appoint [full

 

name| of [full address and
telephone number] as my California agent for service of process in connection with
this action or any proceedings related to enforcement of this Stipulated Protective
Order.

Date:

 

City and State where signed:

 

Printed name:

 

Signature:

 

-16-

 

 
